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Case No:            20-12079         HAC Judge: HENRY A. CALLAWAY                                Trustee Name: LYNN HARWELL ANDREWS
Case Name:          MOBILE SATELLITE CONNECTION, LLC                                             Date Filed (f) or Converted (c):   08/26/20 (f)
                                                                                                 341(a) Meeting Date:               10/05/20
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                                                                                    Estimated Net Value
                                                                                     (Value Determined      Property                               Asset Fully
                                                                Petition/             by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                         Asset Description                     Unscheduled           Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)           Values               and Other Costs)     OA=554(a)        the Estate               Assets

 1. HANCOCK/WHITNEY CHECKING ACCOUNT                                         0.00                   0.00      OA                     0.00              FA
    Negative balance of $-214.62. (secured to Hancock
    Whitney, and Brenda Humphreys)
    Order Approving Abandonment dated 3-17-21
 2. HANCOCK/WHITNEY PPP CHECKING ACCOUNT                                158.93                      0.00      OA                     0.00              FA
    (secured to Hancock/Whitney, and Brenda Humphreys)
    Order Approving Abandonment dated 3-17-21
 3. ACCOUNT RECEIVABLE (90 DAYS OLD OR LESS)                           6,600.00                     0.00      OA                     0.00              FA
    (secured to Rosewood Capital, Brenda Humphreys, Hancock
    Whitney and Swift Financial)
    Order Approving Abandonment dated 3-17-21
 4. ACCOUNT RECEIVABLE (90 DAYS OLD OR LESS)                           6,600.00                     0.00      OA                     0.00              FA
    (secured to Rosewood Capital, Brenda Humphreys, Hancock
    Whitney and Swift Financial)
    Order Approving Abandonment dated 3-17-21
 5. ACCOUNT RECEIVABLE (90 DAYS OLD OR LESS)                           6,600.00                     0.00      OA                     0.00              FA
    (secured to Rosewood Capital, Brenda Humphreys, Hancock
    Whitney and Swift Financial)
    Order Approving Abandonment dated 3-17-21
 6. ACCOUNT RECEIVABLE (OVER 90 DAYS OLD)                              2,250.00                     0.00      OA                     0.00              FA
    (secured to Rosewood Capital, Brenda Humphreys, Hancock
    Whitney and Swift Financial)
    Order Approving Abandonment dated 3-17-21
 7. FINISHED GOODS, INCLUDING GOODS HELD FOR                                 1.00                   0.00      OA                     0.00              FA
 RESALE
    72 POLO SHIRTS WITH LOGO
    2 T-SHIRTS
    5 BUTTON DOWN SHIRTS
    2 JACKETS
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    Order Approving Abandonment dated 3-17-21
    Debtor Claimed Exemption
 8. CRAFTSMAN STYLE HUTCH COMPUTER DESK -                              1,300.00                     0.00      OA                     0.00              FA
 $1,000.00
    DESK CHAIR - WOOD/LEATHER - $200.00
    DESK CHAIR - VINYL/PLASTIC - $50.00
    4-DRAWER METAL FILING CABINET - $50.00
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    Order Approving Abandonment dated 8-24-21
 9. L-DESK WITH HUTCH - $500.00; OFFICE CHAIR                          1,050.00                     0.00      OA                     0.00              FA
 (ALUM/
    CLOTH) - $50.00




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   RUG - $150.00
   CRAFTSMAN SHELF UNIT - $350.00
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   Order Approving Abandonment dated 8-24-21
 10. RECEPTIONIST CORNER DESK - $250.00; LOVESEAT                      710.00                    0.00      OA                     0.00              FA
 -
   $150.00; OFFICE CHAIR (ALUM/CLOTH) - $50.00
   OFFICE CHAIR (ALUM/CLOTH) - $50.00
   LOW TABLE/GLASS TOP - $35.00
   FOYER TABLE/GLASS TOP - $75.00
   DESK CHAIR (BROKEN) N/V
   3 LARGE ARTWORK -$75.00
   MAGAZINE RACK (WALL MOUNT) - $25.00
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   Order Approving Abandonment dated 8-24-21
 11. EXECUTIVE DESK - $250.00; COMPUTER DESK                           750.00                    0.00      OA                     0.00              FA
 WITH HUTCH
   $350.00; OFFICE CHAIR (ALUM/CLOTH)- $50.00
   OFFICE CHAIR (ALUM/CLOTH) - $50.00
   OFFICE CHAIR (ALUM/CLOTH) - $50.00
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   Order Approving Abandonment dated 8-24-21
 12. L-DESK WITH HUTCH - $500.00; 2-DRAWER                             725.00                    0.00      OA                     0.00              FA
 LATERAL FILE
   CABINET - $100.00
   3- DRAWER LATERAL FILE CABINET - $125.00
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   Order Approving Abandonment dated 8-24-21
 13. L-DESK WITH HUTCH -$500.00; L-DESK WITH                          1,550.00                   0.00      OA                     0.00              FA
 HUTCH
   (SOME COSMETIC DAMAGE) - $400.00
   DESK CHAIR - VINYL/PLASTIC - $50.00
   DESK CHAIR- VINYL/PLASTIC - $50.00
   2- DRAWER LATERAL FILE CABINET (SMALL,
   METAL) - $50.00
   2- DRAWER LATERAL FILE CABINET (SMALL,
   METAL) - $50.00
   5- DRAWER LATERAL FILE CABINET - $250.00
   NARROW SHELF - $50.00
   3 X 5 WHITEBOARD - $150.00




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    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    Order Approving Abandonment dated 8-24-21
 14. SHIPPING PEANUT HOPPER - $15.00; EQUIPMENT                               165.00                     0.00      OA                        0.00              FA
 RACK
    WITH RAILS (6') - $150.00
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    Order Approving Abandonment dated 8-24-21
 15. 8 5-SHELF METAL/PARTICLE BOARD SHELVES -                                 915.00                  915.00                              168.62               FA
 $600.00
    2 ROLLING EQUIPMENT CARTS - $150.00
    EQUIPMENT RACK W/ RAILS (6') - $150.00
    SHOP STOOL - $15.00
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 16. OFFICE EQUIPMENT - TYPEWRITER WITH ROLLING                               200.00                  200.00       OA                        0.00              FA
 CART-
    $20.00; TOWER COMPUTER W/ MONITOR,
    KEYBOARD & MOUSE (WON'T UPDATE) - $80.00
    TOWER COMPUTER W/MONITOR, KEYBOARD &
    MOUSE - $100.00
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    Order Approving Abandonment as to tower computers and
    any other computers or tablets dated 3-17-21
    Order Approving Abandonment dated 8-24-21 as to
    Typewriter with rolling cart
 17. 2003 DIESEL FORD F250 LARIAT CREW (TAG                                  8,000.00                8,000.00                            1,200.00              FA
 #2P11801A)
    VIN# 1FTNW20F13EB09420 (Unit #15) MISSING TITLE
    CERTIFICATE (or secured to Whitney) Runs - :Located at
    office
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 18. BLACK CAR-HAULER TRAILER (2006 16 ft. Port City                         1,000.00                1,000.00                             659.00               FA
    Trailer (flat tires) (Located in Silverhill with Ray Heathcoe,
    13923 Oswalt Lane, Silverhill, AL 36576, Tel#
    251-978-1222) Tag No. 2TR3599A, VIN
    #4PCU2162561000197




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    Title Certificate. (Have photos) Title Appl No. Q8917862
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 19. SMALL BLACK UTILITY TRAILER                                          500.00                  500.00                              250.00               FA
    10 ft. Port City Trailer, VIN 4PCU1101131000101, Tag No.
    2UTA7807 (Title Certificate)
    (Located at the office)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 20. UTILITY BODY FOR TRUCK                                              1,000.00                1,000.00                             255.00               FA
    (Located in Silverhill with Ray Heathcoe, 13923 Oswalt
    Lane, Silverhill, AL 36576) Tel # 251-978-1222
    This is the body for the 2013 International Chassis (Asset
    #21)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 21. 2013 INTERNATIONAL CHASSIS                                          2,500.00                2,500.00                            2,211.00              FA
    VIN 1HTJSSKK7DH339809 - Title Certificate (was in file
    labeled #3) - Tag No. 2X22181A
    (Located at office) Utility body (Asset #20) goes on this
    truck.
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 22. TRAILER #12 - TRAILER WITH 2.4m KU ANTENNA,                      15,000.00               15,000.00                              2,764.21              FA
 125W
    Ku-Bankd SSPAs. 2002 Scientific Inc. 16' UTLO trailer,
    VIN DT91976, Tag No. 2TR3598A
    (Located at office inside shop)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 23. TRAILER #13 - TRAILER WITH 3.7m RECEIVE ONLY                        5,000.00                5,000.00                             399.00               FA
    ANTENNA (Blue trailer in the back)
    (Located at the office)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 24. FORKLIFT                                                            3,500.00                    0.00                             644.98               FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift




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    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
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 25. 30 GALLON AIR COMPRESSOR                                             150.00                  150.00                              27.64              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
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 26. MILLER ARC WELDER                                                   1,250.00                1,250.00                            230.35              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
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 27. DRILL PRESS                                                           50.00                   50.00                               9.21              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
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 28. BAND SAW                                                              50.00                   50.00                               9.21              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
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 29. MITRE SAW                                                             20.00                   20.00                               3.68              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 30. CAR CHARGER                                                           30.00                   30.00                               5.53              FA
    (Located at office)
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;




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   Order on motion to sell dated 1-26-21 and Report of Sale
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 31. DIESEL GENERATOR ENGINE                                            650.00                    650.00                              119.78               FA
   (Located at office)
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   See motion to sell free and clear of liens filed 12-29-20;
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 32. DIESEL GENERATOR ENGINE                                            650.00                    650.00                              119.78               FA
   (Located at office)
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   See motion to sell free and clear of liens filed 12-29-20;
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 33. ENGINE HOIST                                                       100.00                    100.00                               18.43               FA
   (Located at office)
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
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 34. LIFE INSURANCE POLICY ON RHEA THOMAS -                                   1.00                   1.00      OA                        0.00              FA
 BENEFICIARY
   IS MSC - NO CASH VALUE
   Order Approving Abandonment dated 3-17-21
 35. UPLINK UNIT #1 (WITH EQUIPMENT LISTED ON                        75,000.00                 75,000.00                             9,998.00              FA
 EXHIBIT A
   2014 INTERNATIONAL TERRASTAR, VIN
   1HTJSSKK7EH788960. Needs new chassis, Title
   Certificate- Tag #2X22180A (Located at office in Mobile)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 36. UPLINK UNIT #3 (WITH EQUIPMENT LISTED ON                        90,000.00                 90,000.00                             9,998.00              FA
 EXHIBIT B
   2003 FORD F-550 (Needs motor work, otherwise
   operational) VIN 1FDAF56F73EA19840 - Title certificate -
   Tag #2X22852A. Located at office in Mobile.
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 37. UPLINK UNIT #4 (WITH EQUIPMENT LISTED ON                       125,000.00               125,000.00                         14,999.00                  FA




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 EXHIBIT C
   2005 HINO NE268 T, VIN JHBNE8JT951S11012. Has
   mixed SSPAs - (One original pair at vendor after repair, 2nd
   amp is Wavestream. Otherwise operational. Title certificate
   and Pictures. Tag # 2X22118A
   (Located at Absolute Storage, 528 Maddox Dr., Suite 1,
   Elljay, GA 30540. Tel. # 706-276-2430) Chris Harper can
   assist with access. Storage bill paid through August.
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 38. UPLINK UNIT #5 (WITH EQUIPMENT LISTED ON                         100,000.00           100,000.00                         66,666.67               FA
 EXHIBIT D
   2015 INTERNATIONAL TERRASTAR - Fully operational.
   VIN #1HTJSSKK7FH740120 - Title Certificate - Tag
   #2X22179A (Includes Adtec Digital (2) EN MPEG-4
   Encoders w/ 16 ch audio; Aterne Kyrion Dual encoder w/.
   32-ch audio; Cobalt Digital Cobalt tray with 5 encoder cards
   and 5 DA cards; Adtec Digital (2) DTA 10-Ch Multiplexer,
   Adtec Digital RD-60, Adtec Digital RD-70 shown on
   Exhibit I)
   (Located in San Jose, California) Actually located with Eric
   Kludt at 765 Dakota Dr., Morgan Hill, CA 95037, Email:
   ekludt@gmail.com, Tel # 615-522-8750
   Unit has been moved to storage facility of GA Global Parters
   at 720 Las Animas Ave., Gilroy, CA 95020
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 5-10-21
 39. UPLINK UNIT #6 (WITH EQUIPMENT LISTED ON                         100,000.00           100,000.00                         66,666.67               FA
 EXHIBIT E
   2015 INTERNATIONAL TERRASTAR - Fully operational
   - VIN #1HTJSSKK0FH740119 - Title Certificate and
   Pictures - Tag No. 2X22182A
   (Located at Springhill Suites, 4385 Southside Blvd.,
   Jacksonville, FL 32216) Billy Hyre or Randale Laxton are
   contacts who have access to the trucks.
   Billy Hyre contact Info: Phoenix Uplink, LLC, 5318 Forest
   Park Drive, Mobile, AL 36618-2464. Tel # 251-421-3055,
   Email: billyhyre@gmail.com
   See motion to sell free and clear of liens filed 12-29-20;
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 40. UPLINK UNIT #7 (WITH EQUIPMENT LISTED ON                         100,000.00           100,000.00                         50,000.00               FA




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 EXHIBIT F
   2011 Hino Model #238T (Fully operational) - VIN
   #5PVNE8JT5B4S53504 - Title Certificate - Tag No.
   2X22178A
   (Located in Jacksonville, Florida) Unit is actually located in
   Mobile. (Includes Cobalt tray with 3 encoder cardes and 3
   DA cards shown on Exhibit I)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 5-10-21
 41. UPLINK UNIT #8 - NEEDS NEW MOTOR/CHASSIS                            15,000.00             15,000.00                             2,158.00              FA
   2006 HINO 268T, VIN # 5PVNE8JT762S50248 -Stripped
   of Equipment - Title Certificate - Tag No. 2X210727
   LocatedAT 5355 Chicken Road, Lebanon, Tennessee.
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 42. UPLINK UNIT #9 (WITH EQUIPMENT LISTED ON                           100,000.00           100,000.00                         14,998.00                  FA
 EXHIBIT G
   2000 FORD F550 DIESEL CUTAWAY, VIN
   1FDAF56F9YEA27560 - MISSING TITLE CERTIFICATE
   -Tag No. 2X22099A
   Minor engine leak, otherwise operational
   Pictures provided in email.
   (Located at Absolute Storage, 528 Maddox Dr., Suite 1,
   Elljay, GA 30540. Tel. # 706-276-2430) Chris Harper can
   assist with access. Storage bill paid through August.
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 43. UPLINK UNIT #10 (WITH EQUIPMENT LISTED ON                          100,000.00           100,000.00                         66,666.66                  FA
 EXHIBIT
   H) - 2000 FORD F-550 SD PU (Fully operational) VIN
   1FDAF56FXYED11599 - Title Certificate and Pictures -
   Tag No. 2X11517A
   (Located at Springhill Suites, 4385 Southside Blvd.,
   Jacksonville, FL 32216) Billy Hyre or Randale Laxton are
   contacts who have access to the trucks.
   Billy Hyre contact Info: Phoenix Uplink, LLC, 5318 Forest
   Park Drive, Mobile, AL 36618-2464. Tel # 251-421-3055,
   Email: billyhyre@gmail.com
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 5-10-21




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Case No:            20-12079         HAC Judge: HENRY A. CALLAWAY                                   Trustee Name: LYNN HARWELL ANDREWS
Case Name:          MOBILE SATELLITE CONNECTION, LLC                                                Date Filed (f) or Converted (c):      08/26/20 (f)
                                                                                                    341(a) Meeting Date:                  10/05/20
                                                                                                    Claims Bar Date:                      03/15/21


                                 1                                      2                       3                 4               5                           6
                                                                                       Estimated Net Value
                                                                                        (Value Determined      Property                                  Asset Fully
                                                                     Petition/           by Trustee, Less      Formally       Sale/Funds             Administered (FA)/
                         Asset Description                          Unscheduled         Liens, Exemptions,    Abandoned       Received by         Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                Values             and Other Costs)     OA=554(a)        the Estate                  Assets

 44. UPLINK UNIT 11 - 2011 HINO 238T                                    125,000.00             125,000.00                         50,000.00                  FA
   Fully operational (NO Exhibit with list of equipment) VIN
   5PVNE8JT8B4S53576 - Title certificate - Tag No.
   2X22074A
   Located at office in Mobile. Exhibit provided later. (Includes
   (2) Adtec Digital EN 91 MPEG-4 Encoders w/ 16 ch audio
   shown on Exhibit I)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 5-10-21
 45. UPLINK UNIT #14 - NEEDS NEW MOTOR/CHASSIS                           10,000.00               10,000.00                              357.00               FA
   2001 FORD F550SD, Stripped of equjipment. VIN
   1FDAF56F61EB24284 - MISSING TITLE CERTIFICATE -
   Tag No. 2X111809
   Located at office in Mobile
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 46. 2.4m FLYAWAY ANTENNA (ANTENNA & MOUNT                                  2,500.00                   0.00                             460.70               FA
 ONLY)
   Located at office in Mobile
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 47. MISC. UPLINK EQUIPMENT LISTED ON EXHIBIT I                         134,400.00                     0.00                            5,141.44              FA
   (secured to Brenda Humphreys, Hancock Whitney and Swift
   Financial)
   See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21 as to Adtec Digital (2) DTA 10-Ch
   Multiplexer; 3- Janus Potswap cell phones; Sony (2)
   XDCam Deck: PDWHD1500; Advantech C-Band SSPA
   Controller; Ku-Band SSPA Controller; C-Band 400W SSPA
   (needs repair); C-Band 400W SSPA; C-Band 400W SSPA;
   IFB Kit (x2); Teamcast (2) L-Band DVBS-2 Modulators;
   Newtec (1) AZ110 DVBS-2 Modulator; Newtec (2) 2177
   DVBS-2 Modulators; (1) 2142 Combined
   Modulator/upconverter

    Cobalt tray with 3 encoder cards and 3 DA cards included
    with sale of Uplink Unit #7 (Incorrectly described as having
    5 encoder cards and 5 DA cards) - Report of Sale filed




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Case Name:          MOBILE SATELLITE CONNECTION, LLC                                                  Date Filed (f) or Converted (c):    08/26/20 (f)
                                                                                                      341(a) Meeting Date:                10/05/20
                                                                                                      Claims Bar Date:                    03/15/21


                                 1                                      2                         3                 4               5                         6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                                Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                         Asset Description                          Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                Values               and Other Costs)     OA=554(a)        the Estate                Assets

    5-10-21

    (2) Adtec Digital EN 91 MPEG-4 Encoders w/16 ch audio
    included with sale of Uplink Unit #11 - Report of Sale filed
    5-10-21

    Adtec Digital (2) EN MPEG-4 Encoders w/ 16 ch audio;
    Aterne Kyrion Dual encoder w/. 32-ch audio; Cobalt Digital
    Cobalt tray with 5 encoder cards and 5 DA cards; Adtec
    Digital (2) DTA 10-Ch Multiplexer, Adtec Digital RD-60,
    Adtec Digital RD-70 included with sale of Uplink Unit #5 -
    Report of Sale filed 5-10-21
 48. METAL WELDING TABLE                                                     500.00                      0.00                             92.15              FA
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 49. FIBERGLASS ANTENNA SHELL                                               1,000.00                     0.00                            184.29              FA
    (secured to Brenda Humphreys, Hancock Whitney and Swift
    Financial)
    See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 50. REFUND OF CREDIT BALANCE ON U.S. PREMIUM                                     0.00                301.02                             301.02              FA
 FINANCE (u)
    ACCOUNT
 51. CANCELLED RETURN PREMIUM FROM FEDERAL                                        0.00                821.00                             821.00              FA
 (u)
    INSURANCE COMPANY
 52. FCC License for E970256 File No.: SES-RWL-20080620                           1.00                   1.00                              1.00              FA
    (Uplink Unit 1) See motion to sell free and clear of liens
    filed 12-29-20; Order on motion to sell dated 1-26-21 and
    Report of Sale filed 2-20-21
 53. FCC License for E970257 File No.: SES-RWL-20070510                           1.00                   1.00                              1.00              FA
    (Uplink Unit 1) See motion to sell free and clear of liens
    filed 12-29-20; Order on motion to sell dated 1-26-21 and
    Report of Sale filed 2-20-21
 54. FCC License for E980045 File No.:                                            1.00                   1.00                              1.00              FA
    SES-RWL-20071213-01695 Expires 1/9/2023 (Uplink Unit
    3) See motion to sell free and clear of liens filed 12-29-20;
    Order on motion to sell dated 1-26-21 and Report of Sale
    filed 2-20-21
 55. FCC License for E980048 File No.: SESRWL-20071213-                           1.00                   1.00                              1.00              FA




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Case Name:          MOBILE SATELLITE CONNECTION, LLC                                                  Date Filed (f) or Converted (c):   08/26/20 (f)
                                                                                                      341(a) Meeting Date:               10/05/20
                                                                                                      Claims Bar Date:                   03/15/21


                                 1                                      2                         3                 4               5                         6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                                Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                         Asset Description                          Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                Values               and Other Costs)     OA=554(a)        the Estate                Assets

   01696 Expires 1/9/2023 (Uplink Unit 3) See motion to sell
   free and clear of liens filed 12-29-20; Order on motion to
   sell dated 1-26-21 and Report of Sale filed 2-20-21
 56. FCC License for E890643 File No:                                             1.00                   0.00                             1.00               FA
   SES-RWL-20080520-00662 Expires 7/7/2023 (Uplink Unit
   4) See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 57. FCC License for #030046, File No.                                            1.00                   1.00                             1.00               FA
   SES-RWL-20180423-00389 (Uplink Unit 8) See motion to
   sell free and clear of liens filed 12-29-20; Order on motion
   to sell dated 1-26-21 and Report of Sale filed 2-20-21
 58. FCC License for E020137 File No.                                             1.00                   1.00                             1.00               FA
   SES-LIC-20020522-00825 Expires 8/26/2032 (Uplink Unit
   9) See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 59. FCC License for E990516 File No.:                                            1.00                   1.00                             1.00               FA
   SES-RWL-20100105-00004 Expires 1/28/2025 (Uplink
   Unit 9) See motion to sell free and clear of liens filed
   12-29-20; Order on motion to sell dated 1-26-21 and Report
   of Sale filed 2-20-21
 60. FCC License for E02050, File No.                                             1.00                   1.00                             1.00               FA
   SES-LIC-20020909-01560, Expires 12/2/2032 (Uplink Unit
   14) See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 61. FCC License for E020252, File No.                                            1.00                   1.00                             1.00               FA
   SES-LIC-20020909-01562 Expires 11/5/2032 (Uplink Unit
   14) See motion to sell free and clear of liens filed 12-29-20;
   Order on motion to sell dated 1-26-21 and Report of Sale
   filed 2-20-21
 62. FCC License for E970441 File No.:                                            1.00                   1.00      OA                     0.00               FA
   SES-RWL-20071024-01460 Expires 11/14/2022
   Order Approving Abandonment dated 8-24-21
 63. FCC License for E970442 File No.:                                            1.00                   1.00      OA                     0.00               FA
   SES-RWL-20071024-01458 Expires 12/5/2022
   Order Approving Abandonment dated 8-24-21
 64. MISC. FILES AND RECORD (u)                                                   0.00                   0.00      OA                     0.00               FA
   Order Approving Abandonment dated 3-17-21

                                                                                                                                                 Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                   $1,147,437.93              $978,199.02                       $368,614.02                         $0.00
                                                                                                                                                   (Total Dollar Amount
                                                                                                                                                          in Column 6)



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Case Name:         MOBILE SATELLITE CONNECTION, LLC                                            Date Filed (f) or Converted (c):   08/26/20 (f)
                                                                                               341(a) Meeting Date:               10/05/20
                                                                                               Claims Bar Date:                   03/15/21

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 Filing final tax returns for 2021. As soon as the tax returns are filed, the case should be ready
 for a final report.

 Initial Projected Date of Final Report (TFR): 10/31/21            Current Projected Date of Final Report (TFR): 05/31/22

       /s/    LYNN HARWELL ANDREWS
 __________________________________________ Date: 02/11/22
       LYNN HARWELL ANDREWS




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